                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MONTANA
                               HELENA DIVISION

     HERU SPENCER,
                                                   CV 23-65-H-BMM-KLD
                         Plaintiff,

     vs.                                             ORDER

     EXPERIAN; EQUIFAX INC.; RELX
     INC.; TRANSUNION HOLDING
     COMPANY INC.;

                         Defendants.

           On September 25, 2023, Defendant RELX Inc. (“RELX”) filed a motion to

dismiss the Complaint for failure to state a claim for relief pursuant to Rule

12(b)(6) of the Federal Rule of Civil Procedure. (Doc. 11). Plaintiff Heru

Spencer’s response brief was due on or before October 16, 2023. See Local Rule

7.1(d)(1)(B)(i). On October 19, 2023, RELX agreed to allow Plaintiff until

November 2, 2023, to respond to RELX’s motion to dismiss. (Doc. 24-1). On

October 27, 2023, Plaintiff filed a document that the Court has already construed

as a response to Defendant Transunion Holding Company Inc.’s motion to dismiss.

(Doc. 23). The Court will do the same here, and therefore construes the October

27, 2023, filing as a response to RELX’s motion to dismiss.

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Under Local Rule 7.1(d)(1)(C), Defendant RELX has until November 21, 2023,

within which to file an optional reply brief in support of its motion to dismiss.

      IT IS SO ORDERED.

             DATED this 7th day of November, 2023.


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                                              Kathleen L. DeSoto
                                              United States Magistrate Judge




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